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                     No. 23-60165
______________________________________________________

     IN THE UNITED STATES COURT OF APPEALS
               FOR THE FIFTH CIRCUIT
______________________________________________________

                 PHILIP GERARD TURNER,

                                    Plaintiff - Appellant

                            VERSUS

  AKILLIE MALONE OLIVER, in Her Individual Capacity,

                                    Defendant - Appellee


                    BRIEF OF APPELLANT


  APPEAL FROM THE UNITED STATES DISTRICT COURT
     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
               NORTHERN DIVISION

  Honorable Judge Henry T. Wingate, United States District Judge

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                                                 Plaintiff - Appellant

                                       VERSUS

            AKILLIE MALONE OLIVER, in Her Individual Capacity,

                                      Defendant - Appellee
__________________________________________________________________

                    CERTIFICATE OF INTERESTED PARTIES


      The undersigned counsel of record certifies that the following listed persons

and entities as described in the fourth sentence of FIFTH CIRCUIT RULE 28.2.1 have

an interest in the outcome of this case. These representations are made in order that

the Judges of this Court may evaluate possible disqualification or recusal.

      1.      Philip Gerard Turner, Plaintiff-Appellant;

      2.      Jim Waide, counsel for Plaintiff-Appellant;

      3.      Waide & Associates, P.A., counsel for Plaintiff-Appellant;

      4.      Akillie Malone Oliver, Defendant-Appellee;


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5.    Alan M. Purdie, Esq., counsel for Defendant-Appellee; and

6.    Purdie & Metz, PLLC, counsel for Defendant-Appellee.

SO CERTIFIED, this the 12th day of June, 2023.


                               /s/ Jim Waide
                               JIM WAIDE
                               Counsel for Plaintiff-Appellant




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               STATEMENT REGARDING ORAL ARGUMENT

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                        STATEMENT OF JURISDICTION

      The district court had federal question jurisdiction under 28 U.S.C. § 1331, and

had supplemental jurisdiction over Appellant’s state law claim under 28 U.S.C. §

1367(a). This Court has jurisdiction over the appeal from the final judgment of the

district court, pursuant to 28 U.S.C. § 1291. The district court’s order granting

Appellee’s motion to dismiss was filed on March 10, 2023, and is found at Turner v.

Oliver, 2023 WL 2784882 (S.D. Miss. 2023); ROA.345-367. The Notice of Appeal

was timely filed on March 30, 2023. ROA.368-369.




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                             STATEMENT OF THE ISSUES

       1.      Whether refusing to answer questions in a probable cause hearing in

state court is protected by the Fifth Amendment of the United States Constitution.

       2.      Whether any immunity applies where a district attorney is not acting

pursuant to the discretionary duties of his or her office, but is acting outside of the

scope of his or her official duties in communicating with members of the board of

trustees of a school district.

       3.      Whether invoking the Fifth Amendment in a court proceeding is a

clearly-established right.

       4.      Whether Appellant made plausible claims that Appellee maliciously

interfered with his employment as a school principal in violation of state tort law.

       5.      Whether the district court was required to accept as true the allegations

of Appellee’s Second Amended Complaint in ruling upon a 12(b)(6) motion to

dismiss.




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                     CONCISE STATEMENT OF THE CASE

      On April 23, 2021, Plaintiff/Appellant Philip Gerard Turner (“Turner”) filed

suit against multiple defendants arising out of retaliation against him by the

Defendant/Appellee Akillie Malone Oliver (“Appellee” or “Oliver”), who was the

district attorney of Yazoo County, Mississippi. ROA.7-28.

      With new additional counsel, and with leave of court, ROA.269-271, Turner

filed a Second Amended Complaint. ROA.272-277. Appellee then filed a Rule

12(b)(6) motion and brief in support of that motion asking the district court to dismiss

the Second Amended Complaint. ROA.279-313.

      After Turner responded, ROA.318-334, the district court sustained the Rule

12(b)(6) motion to dismiss on March 10, 2023. Turner v. Oliver, 2023 WL 2784882

(S.D. Miss. 2023); ROA.345-367.         Turner timely appealed on March 30, 2023.

ROA.368-369.

      According to the Second Amended Complaint, the relevant facts are as follows:

      At all relevant times, Turner was acting as the principal of Yazoo County High

School, and Oliver was the elected district attorney. ROA.272-273. Oliver’s son was

a student at the high school where Turner served as principal. ROA.272-273. Turner

had both disciplined and suspended Oliver’s son. Oliver objected to this discipline,




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went to the school, and berated Turner to such an extent that at one point Oliver had

to be escorted off school property. ROA.273.

      At a later time, in August 2019, a different child accused School Resource

Officer Samuel Carter of having choked him. Turner was not present for the incident,

did not witness it, and did not have any personal knowledge as to whether the

incident occurred. ROA.273.

      District Attorney Oliver, in an investigative capacity, came to the school,

accompanied by the district attorney’s office’s criminal investigator.            Oliver

interviewed witnesses and took pictures. ROA.273.

      Thereafter, a probable cause hearing was held concerning whether there was

probable cause to bring charges against the School Resource Officer. During this

hearing, because of animosity toward Turner, Oliver referred to Turner as a “possible

defendant.” ROA.274. Because Oliver referred to Turner as a “possible defendant,”

Turner invoked his Fifth Amendment right to refuse to testify at the probable cause

hearing. ROA.274.

      Thereafter, Oliver informed a grand jury that Turner was an “accessory after

the fact.” ROA.274. Turner was not an accessory after the fact. All Turner did was

invoke the Fifth Amendment. Turner invoked the Fifth Amendment only because

Oliver had threatened that he was a “possible defendant.” ROA.274.

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      The grand jury returned a factually baseless indictment, which reads:

      PHILIP TURNER, did, between the 30T H day of August and September
      5, 2019, in Yahoo County, Mississippi, did conceal, receive, or relieve
      a felon, or having aided or assisted any felon, knowing that the person
      had committed a felony, child abuse, with intent to enable the felon,
      Samuel Carter, to escape or to avoid arrest, trial, conviction or
      punishment after commission of the felony in violation of Mississippi
      Code 97-1-5 (1972), as amended, against the peace and dignity of the
      State of Mississippi.

ROA.14; and see ROA.274.

      The circuit court removed Oliver as prosecutor. On interlocutory appeal, the

Mississippi Supreme Court upheld Oliver’s removal. See Mississippi Supreme Court

Order in State of Mississippi v. Turner, Ms. S.Ct. No. 2020-M-00589-SCT (Miss.

2021); ROA.18, 275.

      The Mississippi Attorney General then assumed the prosecution, and obtained

an Order of nolle prosequi because of a lack of evidence. ROA.20-21, 274.

      District Attorney/Appellee Oliver was not content to obtain Turner’s criminal

indictment. For the purpose of getting Turner fired as principal, on March 3, 2020,

Oliver told members of the board of trustees of Turner’s school board, which

employed Turner, that Turner had been “validly indicted.” Oliver’s claim to the

school district, that Turner was validly indicted, caused the school board to terminate

Turner from his employment. ROA.275.



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      Oliver’s getting Turner terminated from his position as principal, was based

upon Turner’s invoking the Fifth Amendment at the probable cause hearing.

ROA.275.

                              STANDARD OF REVIEW

      This case is before the Court on a Rule 12(b)(6) motion to dismiss. To survive

such a motion, the complaint need only “state a claim to relief that is plausible on its

face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “A claim is facially plausible if

the pleaded factual content ‘allows the court to draw the reasonable inference that the

Appellee is liable for the misconduct alleged.’” Stratta v. Roe, 961 F.3d 340, 349-50

(5th Cir. 2020), quoting Ashcroft v. Iqbal, 556 U.S. at 678.

      The Court must “recount the facts as [Turner] describes them, drawing every

inference in his favor. . . [The Court’s] task is not to determine what allegations are

supported by the evidence but to determine whether [Turner] is entitled to relief if

everything that he says is true.” Doe v. Purdue Univ., 928 F.3d 652, 656 (7th Cir.

2019) (citation omitted).

                            SUMMARY OF THE ARGUMENT

      Turner’s Second Amended Complaint states a plausible claim for relief since

it alleges facts from which a jury could infer that Oliver caused Turner to be

discharged from his employment because of Oliver’s animosity toward him arising

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from his invoking the Fifth Amendment at an official court proceeding. There is no

qualified immunity defense, because the district attorney’s communicating with

members of a board of trustees of a school district is not a part of her job duties, and

there is no discretion to be exercised.

       Alternatively, if qualified immunity applies, it is clearly-settled law that one

has the right to invoke the Fifth Amendment in good faith at an official court

proceeding.

       Turner’s state law claim of malicious interference with employment is based

upon clearly-settled Mississippi law, holding that one who acts in bad faith to

interfere with the contract of another, is liable for the Mississippi law tort of

malicious interference with employment.

       All that must be alleged to survive a 12(b)(6) motion to dismiss is that Turner

stated enough facts to indicate a plausible claim.     Bell Atl. Corp. v. Twombly, 550

U.S. 544 (2007).

       The Second Amended Complaint plausibly alleges that there was ill will arising

from Turner’s taking disciplinary action against Oliver’s son and arising from

Turner’s invoking the Fifth Amendment when Oliver was investigating another

school official. Such allegations contrast markedly with the facts in Ashcroft v. Iqbal,

556 U.S. 662 (2009), where a plaintiff based his claims of discriminatory arrest on a

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disproportionate number of persons of Arab descent being arrested.            The arrest

followed the September 11 terrorist attacks, so the Supreme Court held that arresting

a disproportionate number of Arabs did not “give rise to a plausible inference that

respondent's arrest was the result of unconstitutional discrimination. . . .” Iqbal, 556

U.S. at 682.

      While the claim in Iqbal was not plausible, it is plausible that a district attorney

would retaliate against one who disciplined her son or who invoked the Fifth

Amendment when she was trying to get information to support issuance of an arrest

warrant.

      The indictment which Oliver had obtained was not valid, since it was based

solely upon Turner’s invoking the Fifth Amendment, a protected constitutional right,

and since there was no probable cause to support the indictment. Invoking the Fifth

Amendment in good faith is not being an accessory after the fact, nor does it

constitute any crime whatsoever.




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                                      ARGUMENTS

       I.     APPELLEE HAS NO IMMUNITY FOR HER ACTS
              OUTSIDE THE SCOPE OF HER DUTIES AS DISTRICT
              ATTORNEY IN CAUSING TURNER’S TERMINATION
              FROM HIS EMPLOYMENT BECAUSE OF EXERCISE OF
              THE FIFTH AMENDMENT RIGHT NOT TO TESTIFY.

       Turner agrees that the law grants Oliver absolute immunity for obtaining an

indictment before a grand jury. Imbler v. Pachtman, 424 U.S. 409, 422-23 (1976),

established that under 42 U.S.C. § 1983, prosecutors are absolutely immune for acts

“within the scope of their duties.”

       Because Oliver was abusing the power of her office for malicious reasons,

Oliver, ethically, should have recused herself, as the state circuit court and

Mississippi Supreme Court required. Nevertheless, in presenting the case to the

grand jury, Oliver acted in a prosecutorial capacity. Since Oliver was acting as a

prosecutor, she is entitled to absolute immunity for obtaining Turner’s indictment.

       On the other hand, Oliver’s causing Turner to be fired from his employment is

outside the scope of Oliver’s duties as a district attorney.

       The Second Amended Complaint alleges:

       Defendant Oliver carried out further animosity toward Plaintiff on
       March 3, 2020, when she informed trustees of the School District that
       Plaintiff had been validly indicted for the crime of accessory after the
       fact. Defendant Oliver made this claim for the purpose of getting
       Plaintiff terminated from his position as principal. Defendant Oliver

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         claimed to the School District that Plaintiff was guilty of the crime of
         accessory after the fact, resulting in the School District’s terminating
         Plaintiff from his position as Principal.

ROA.275.

         Oliver’s claim to members of the school board, that Turner was guilty of being

an accessory after fact, is false. The indictment was false, since it was based upon

personal animosity and upon Turner’s exercising his rights under the Fifth

Amendment of the United States Constitution, and since it lacked evidentiary support.

         Perhaps no right is more fundamental then the right under the Fifth Amendment

to silence. “The Fifth Amendment by its own terms grants a person the right to be

silent so as not to be a witness against himself in a criminal case, and to suffer no

penalty for the exercise of that right.” Weaver v. Brenner, 40 F.3d 527, 535 (2d Cir.

1994).     “It is elementary that the privilege against self-incrimination is a right

guaranteed by the Constitution.” United States v. Henderson, 565 F.2d 900, 902 (5th

Cir. 1978). “The value of constitutional privileges is largely destroyed if persons can

be penalized for relying on them.” Grunewald v. United States, 353 U.S. 391, 425

(1957) (Black, J., concurring).

         Further, the indictment was not valid because there was no evidence to support

it. According to MISS. CODE ANN. § 97-1-5(1):




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      Every person who shall be convicted of having concealed, received, or
      relieved any felon, or having aided or assisted any felon, knowing that
      the person had committed a felony, with intent to enable the felon to
      escape or to avoid arrest, trial, conviction or punishment after the
      commission of the felony. . . .

      “In order to commit the crime of accessory after the fact . . . there must be some

indication that the effort to assist a fleeing felon actually aided or assisted him in

some way.” White v. State, 851 So. 2d 400, 405 (Miss. App. 2003).

      Here, there is no indication that the School Resource Officer had ever fled, let

alone that Turner had assisted him. To the contrary, Turner had taken the Fifth

Amendment to protect himself when the district attorney had accused him of being

a “possible defendant.”

      Oliver’s causing Turner to be fired in retaliation for his taking the Fifth

Amendment violated Turner’s constitutional right to silence.

      Oliver claims qualified immunity. Qualified immunity never arises in this case

because Oliver’s actions in talking to the school district are not a part of the

discretionary duties of a district attorney.       Qualified immunity protects those

“officials who are required to exercise their discretion. . . .” Harlow v. Fitzgerald,

457 U.S. 800, 807 (1982) (emphasis added). Oliver’s conversations with the trustees

and superintendent, falsely claiming that there was a valid indictment, were false,

since there was no probable cause that Turner was an accessory after the fact. A

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district attorney has no duties with respect to making reports to members of a school

board and, therefore, could not have any discretionary duty to speak to such persons

in order to interfere in one’s employment. The duties of a district attorney are set

forth in MISS. CODE ANN. § 25-31-11(1), and are

       to represent the state in all matters coming before the grand juries of the
       counties within his district and to appear in the circuit courts and
       prosecute for the state in his district all criminal prosecutions and all
       civil cases in which the state or any county within his district may be
       interested. . . .

       The district attorney has no duty and, therefore, no discretion to be exercised,

when she communicates with the trustees of a local school board. The qualified

immunity doctrine is a judicially-created doctrine which, contrary to the accepted

textual method of statutory interpretation, adds immunity to the statute. See, e.g.,

Brief of the Cato Institute as Amicus Curiae Supporting Petitioner in Hammer v.

Burls, 2020 WL 3317124 (2020) (noting that “qualified immunity is untethered from

any statutory or historical justification”).

       Judge Willett has noted that the Civil Rights Act of 1971, as adopted, states

that

       any person within the jurisdiction of the United States to the deprivation
       of any rights, privileges, or immunities secured by the Constitution of
       the United States, shall, any such law, statute, ordinance, regulation,
       custom, or usage of the State to the contrary notwithstanding, be liable



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       to the party injured in any action at law, suit in equity, or other proper
       proceeding for redress....

Rogers v. Jarrett, 63 F.4th 971, 979 (5th Cir. 2023) (emphasis in original).

       Judge Willett points out that the codifiers of the Civil Rights Act of 1961 failed

to copy this italicized phrase into 42 U.S.C. § 1983. See Rogers, 63 F.4th at 979-80

(Willett, J., concurring). The italicized phrase likely indicates no immunity under 42

U.S.C. § 1983 was intended.

       There is no sound reason to expand the misinterpretation of the Civil Rights

Act of 1871, so as to immunize one who is not performing any discretionary duty of

his or her office, but is acting wholly outside of his or her statutory duties.

       Even if qualified immunity applies, it protects officers only if “their actions

could reasonably have been thought consistent with the rights they are alleged to have

violated.” Anderson v. Creighton, 483 U.S. 635, 638 (1987). All district attorneys

and almost all citizens know about the self-incrimination prohibitions of the Fifth

Amendment. Certainly, a district attorney knows that a person cannot be penalized

because he or she exercises the right to silence under the Fifth Amendment of the

United States Constitution. There is no qualified immunity when “a reasonable police

officer would have known that his conduct was illegal.” Duckett v. City of Cedar

Park, Tex., 950 F.2d 272, 280 (5th Cir. 1992).



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      Even with qualified immunity, defendants are liable “if their actions violated

‘clearly established’ constitutional rights.” Fairchild v. Coryell Cnty., Texas, 40

F.4th 359, 367 (5th Cir. 2022).       Qualified immunity is lost if the “[p]recedent

applying the rule . . . be specific enough that it is ‘clear to a reasonable [defendant]

that his conduct was unlawful in the situation he confronted.’” Fairchild, 40 F.4th

at 367.

      Under this Court’s precedents, invoking the Fifth Amendment in the context

of a legal proceeding is protected activity.       Turner’s invocation of the Fifth

Amendment was made in the context of a hearing to determine whether there was

probable cause for the arrest of a School Resource Officer. This hearing is required

by MISS. CODE ANN. § 99-3-28.

      In the context of this legal proceeding, Turner invoked the Fifth Amendment.

Turner’s doing so is protected by clearly-established law from this Circuit. As this

Court stated in Doe v. State of La., 2 F.3d 1412, 1419, n. 14 (5th Cir. 1993):

      [A] witness may properly invoke the Fifth Amendment “privilege
      against compulsory self-incrimination ... ‘in any proceeding, civil or
      criminal, administrative or judicial, investigatory or adjudicatory’ when
      he [or she] ‘reasonably apprehends a risk of self-incrimination, ... though
      no criminal charges are pending against him [or her], ... and even if the
      risk of prosecution is remote.’” In Re Corrugated Container Anti–Trust
      Litigation, 620 F.2d 1086, 1091 (5th Cir. 1980) (quoting Wehling v.
      Columbia Broadcasting System, 608 F.2d 1084, 1087 n. 5 (5th Cir.
      1979) and Kastigar v. United States, 406 U.S. 441, 444, 92 S.Ct. 1653,

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       1656, 32 L.Ed.2d 212 (1972)), cert. denied, 449 U.S. 1102, 101 S.Ct.
       897, 66 L.Ed.2d 827 (1981).

       Doe was quoted by this Circuit, with approval, in Izen v. Catalina, 256 F.3d

324, 329 (5th Cir. 2001). Accordingly, the right to assert the Fifth Amendment in a

judicial proceeding, such as a probable cause hearing under MISS. CODE ANN. § 99-3-

28, is clearly settled law in this Circuit.

       In summary, while Oliver has absolute immunity for her actions as a prosecutor

in obtaining a baseless grand jury indictment for retaliatory reasons, there is no

immunity for retaliating against Turner by causing him to be terminated from his

employment, because he exercised his Fifth Amendment right to silence at an official

court proceeding.

       Any competent district attorney would know that invoking the Fifth

Amendment does not constitute being an accessory after the fact, and would know

there must be probable cause for an indictment. Therefore, the district attorney’s

telling members of the school that Turner was an accessory after the fact was a false

statement. When Oliver caused Turner to be fired by his employer, by claiming that

there was a valid indictment against him, Oliver retaliated because of exercise of

constitutional rights.    No type of immunity protects Oliver.       Even if qualified




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immunity may be invoked, it does not apply here since the right to invoke the Fifth

Amendment in court proceedings is clearly settled.

      II.    TURNER’S SECOND AMENDED COMPLAINT MAKES A
             PLAUSIBLE CLAIM THAT APPELLEE MALICIOUSLY
             INTERFERED WITH TURNER’S EMPLOYMENT
             CONTRACT, IN VIOLATION OF STATE LAW.

      Courtney v. Glenn, 782 So.2d 162, 164-65 (Miss. App. 2000), citing Cenac v.

Murry, 609 So.2d 1257, 1268 (Miss. 1992), stated:

      Tortious interference with a contract is defined as a malicious or
      intentional interference with a valid and enforceable contract by a third
      party which causes one contracting party not to be able to perform and
      the failure to perform results in a monetary loss for the other contracting
      party.

      Restatement 2d of Torts § 767 (1979) states:

      [While] there is room for different views, the determination to whether
      the interference was improper or not is ordinarily left to the jury, to
      obtain its common feel to the state of community mores, and for the
      manner in which they would operate upon the facts in question.

      The tort is established when “defendant knows of the existence of a contract

and does a wrongful act without legal or social justification that he is certain or

substantially certain will result in interference with the contract.” AmSouth Bank v.

Gupta, 838 So. 2d 205, 214 (Miss. 2002). “Whether the defendant's acts were

intentional or willful does not require an outright confession to that effect, but rather




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may be inferred. Id. at 48 (citing Liston v. Home Ins. Co., 659 F.Supp. 276, 281 (S.D.

Miss. 1986)).” Gupta, 838 So. 2d at 214.

       “The Mississippi Supreme Court has held that tortious interference with at-will

contracts of employment is a viable claim.” Watkins v. Oakes, 318 So. 3d 1125, 1129

(Miss. App. 2020), reh'g denied (Jan. 19, 2021), cert. denied, 318 So. 3d 483 (Miss.

2021). Watkins cites a number of other cases, listing the elements of the tort of

malicious interference with employment as:

       (1) intentional and willful acts, (2) calculated to cause damage to the
       plaintiff in his lawful business, (3) done with the unlawful purpose of
       causing damage and loss, without right or justifiable cause on the part
       of the defendant (which constitutes malice), and (4) resulting in actual
       damage or loss.

Watkins, 318 So. 3d at 1129.

       Many cases have upheld claims of malicious interference with employment on

facts less egregious than those in this case.1 The fact that Oliver is a State official

       1
           Papagolos v. Lafayette County School Dist., 972 F.Supp.2d 912, 933 (N.D. Miss. 2013)
(summary judgment denied for school athletic director and trustee alleged to have maliciously caused
school softball coach to lose position and manifested malice against her by trying to prevent her from
going to school board); Gibson v. Estes, 2008 WL 3884393, *3 (N.D. Miss. 2008), affirmed, 338
Fed.Appx. 476 (5th Cir. 2009) (holding mayor could be held individually liable to an at will police
chief when the mayor caused the board to fire the police chief because the chief “repeatedly became
involved in investigations of [the mayor].”); Lofton v. City of West Point, Miss., 2012 WL 1135862,
*13 (N.D. Miss. 2012) (holding a city alderman could be held liable to a discharged city employee
for malicious interference with the employee’s position at the electric department); Wertz v. Ingalls
Shipbuilding, Inc., 790 So.2d 841 (Miss. App. 2000) (holding a claim for intentional interference
was stated when the defendant would not allow plaintiff to work for a contractor on its property, so
as to continue his employment); Grice v. FedEx Ground Package System, Inc., 925 So.2d 907, 911
(Miss. App. 2006) (holding summary judgment would be reversed where an individual supervisor

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does not prohibit her being held personally liable for malicious interference with

employment. This is demonstrated by Springer v. Ausbern Constr. Co., 231 So. 3d

980, 989 (Miss. 2017), which held that a government official (the county engineer)

may be sued for malicious interference with employment, and such a claim is outside

the Mississippi Tort Claims Act. Springer held:

       Tortious interference with a contract requires proof of malice as an
       essential element. Par Indus., Inc. v. Target Container Co., 708 So.2d
       44, 48 (¶ 8) (Miss. 1998). As a result, Ausbern's claim for tortious
       interference with the road-construction contract against Springer in his
       individual capacity was not subject to the Tort Claims Act's presuit
       notice requirements.

Springer, 231 So. 3d at 989.

       Springer interpreted MISS. CODE ANN. § 11-46-5(2), which provides that:

“[A]n employee shall not be considered as acting within the course and scope of his



thought the plaintiff had tuberculosis, called her home, and told her that it would not be in her “best
interest” to return to work, causing her to lose her employment); Dearman v. Stone County School
Dist., 2014 WL 1153068, *8-9 (S.D. Miss. 2014) (finding sufficient evidence that school
superintendent and school board trustee had caused firing of special education teacher in bad faith);
Stephen v. Winston County, Miss., 2008 WL 4813829, *8-9 (N.D. Miss. 2008) (finding there were
issues of material fact as to whether defendant prison warden fired nurse under his supervision in
bad faith); Crabb v. Itawamba County, Miss., 2005 WL 2648017, *5 (N.D. Miss. 2005) (holding
county supervisor could be held liable for the firing of road hand for political reasons); Vaughan v.
Carlock Nissan of Tupelo, Inc., 553 Fed.Appx. 438, 444 (5th Cir. 2014) (holding that summary
judgment was improperly granted on an intentional interference claim since the plaintiff had
produced evidence from which a jury could find that an individual defendant terminated Vaughan
‘without right or good cause.’” (emphasis in original)). Dixon v. Alcorn Cnty., Mississippi, 2022
WL 610268, *22 (N.D. Miss. 2022) (justice court judge who caused board of supervisors to
discharge the plaintiff for reporting him to the Mississippi Commission on Judicial Performance
could be held liable for interference with employment).

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employment and a governmental entity shall not be liable or be considered to have

waived immunity for any conduct of its employee if the employee's conduct

constituted . . . malice. . . .”

       Springer was explained in Jones v. Mississippi Institutions of Higher Learning,

264 So. 3d 9, 33, ¶¶ 75-76 (Miss. App. 2018), which was a suit brought against the

athletic director of Alcorn State University alleging malicious interference with

contract. Jones stated:

       Springer clearly holds that the MTCA does not apply to a claim for
       tortious interference with contract. [Springer, 231 So. 3d at 988-89]
       Therefore, Jones properly filed this claim against Hamilton in
       Hamilton's individual capacity. Id. The MTCA and its various
       requirements, defenses, and exemptions do not apply to a claim properly
       filed against an individual employee in his individual capacity. See
       Univ. of Miss. Med. Ctr. v. Oliver, 235 So.3d 75, 82-83 (¶¶ 26-33)
       (Miss. 2017).
       Based on the Supreme Court's recent decision in Springer, the circuit
       court erred by dismissing Jones’s tortious interference claim against
       Hamilton. That claim simply is not subject to the MTCA.2

       2
           Even before Springer and Jones were decided, many cases have upheld suits against
individual governmental defendants for malicious interference, notwithstanding the Mississippi Tort
Claims Act. These cases include: Gibson v. Estes, 2008 WL 3884393, *3 (N.D. Miss. 2008), aff'd,
338 F. App'x 476 (5th Cir. 2009), where the defendant mayor recommended the police chief’s firing
after the police chief had “repeatedly became involved in investigations of [the mayor], his family,
and his business.” The Fifth Circuit affirmed this finding because the proof was sufficient to show
the defendant’s acts were malicious, meaning they were “without right or justifiable cause. . . .”
Gibson, 338 F. App'x at 477.
         Lofton v. City of W. Point, Miss., 2012 WL 1135862, at *12 (N.D. Miss. 2012), held that a
city alderman could be held individually liable when he caused a city employee to be fired because
the city employee had cut off the alderman’s electricity for nonpayment of electric bills; Stephen v.
Winston Cty., Miss., 2008 WL 4813829, *8-9 (N.D. Miss. 2008), held that a director of state
correctional facility could be held personally liable to nurse for malicious interference if director

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        In Russell v. City of Tupelo, Mississippi, 2021 WL 4979005 (N.D. Miss. 2021),

the Northern District of Mississippi recently sustained a motion for reconsideration

in a case against an assistant police chief, who was sued for malicious interference

with employment. In Russell, the Court held that it had erroneously dismissed the

claim because of:

        more recent cases wherein Mississippi courts have held that state law
        claims against individuals for tortious interference with contractual
        relations fall outside the scope of the Mississippi Tort Claims Act. See,
        e.g., Jones v. Miss. Institutions of Higher Learning, 264 So.3d 9, 33
        (Miss. Ct. App. 2018) (noting that a tortious interference claim “is not
        subject to the MTCA.”) (citing Springer v. Ausbern Constr. Co., 231
        So.3d 980, 989 (Miss. 2017)) (additional citations omitted). . .

Russell, 2021 WL 4979005, at *1.

        In Russell, District Judge Sharion Aycock went on to find that there was ample

evidence to survive summary judgment on a malicious interference claim based upon



caused nurse’s discharge because she reported illegal activity; Papagolos v. Lafayette Cty. Sch. Dist.,
972 F. Supp. 2d 912, 933 (N.D. Miss. 2013), amended on reconsideration (Nov. 2013), held that
summary judgment would be denied to school athletic director and school board trustee, who were
charged to have caused softball coach to lose his position in order to prevent her from meeting with
school board; Dearman v. Stone Cty. Sch. Dist., 2014 WL 1153068, *8-9 (S.D. Miss. 2014), held
there was sufficient evidence to deny summary judgment on a claim against school superintendent
and school board trustee because they had caused the firing of a teacher in bad faith; Crabb v.
Itawamba Cty., Mississippi, 2005 WL 2648017, *4 (N.D. Miss. 2005), held that a county supervisor
could be held individually liable for malicious interference when he caused an employee to be fired
because of his political activities.
         Under all of the above authorities, in order to prove malice, it is necessary to show only that
the individual defendant acted intentionally and “without right or good cause. . . .” See, e.g.,
Vaughan v. Carlock Nissan of Tupelo, Inc., 553 F. App'x 438, 445 (5th Cir. 2014) (emphasis in
original).

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the personal animosity which the assistant chief held against a subordinate. The

Russell opinion cited the cases previously cited in this brief, as establishing that

Mississippi law recognizes the tort of malicious interference with employment when

one causes another to be discharged from his employment for reasons of personal

animosity. Russell, 2021 WL 4979005, at *2.

      Just recently, this Court has recognized that malicious interference in another’s

employment is a tort under Mississippi law. In Hicks v. Martinrea Auto. Structures

(USA), Inc., 12 F.4th 511, 515-16 (5th Cir. 2021), this Court held that in order for a

plaintiff to state a claim of malicious interference, he or she must show that the

defendant “acted in bad faith and outside the scope of her responsibility in her role

as HR Manager.” Hicks, 12 F.4th at 515.

      Just as Hicks held that firing an employee to prevent her from testifying as a

witness at a Workers’ Compensation hearing could be found by a jury to be “in bad

faith and outside the scope of her responsibility,” Oliver’s causing Turner to be fired

because he had invoked the Fifth Amendment could be found by a jury to mean that

Oliver “acted in bad faith and outside the scope of her responsibility” as a district

attorney.




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                                     CONCLUSION

       Philip Gerard Turner’s claim of a violation of his Fifth Amendment rights by

causing him to be discharged from his employment because he exercised his right to

silence states a plausible cause of action for violation of Fifth Amendment rights.

       Turner’s state law claim for malicious interference with employment states a

plausible cause of action for violation of state law.

       This Court should reverse the grant of the 12(b)(6) motion to dismiss.

       RESPECTFULLY SUBMITTED, this the 12th day of June, 2023.

                                          PHILIP GERARD TURNER,
                                          Plaintiff-Appellant


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                           CERTIFICATE OF SERVICE

        This will certify that undersigned counsel for Plaintiff-Appellant has this day
filed the above and foregoing Brief of Appellant with the Clerk of the Court,
utilizing this Court's electronic case data filing system (CM/ECF), which sent
notification of such filing to the following:

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      SO CERTIFIED, this the 12th day of June, 2023.


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      1.      This brief complies with the type-volume limitation of FED. R. APP . P.
32(a)(7)(B) because it contains 4,905 words, excluding the parts exempted by F ED.
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      SO CERTIFIED, this the 12th day of June, 2023.


                                         /s/ Jim Waide
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                                         Attorney for Plaintiff-Appellant




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